                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

JUSTIN ANTHONY GOBLE,                        )
                                             )
         Plaintiff,                          )
                                             )       JURY DEMAND
v.                                           )       CIVIL ACTION NO. 3:12-cv-0686
                                             )       JUDGE ALETA A. TRAUGER
SECURITAS SECURITY                           )
SERVICES USA, INC.,                          )
                                             )
         Defendant.                          )

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         COME NOW Plaintiff Justin Anthony Goble and Defendant Securitas Security Services

USA, Inc. and submit this Joint Stipulation of Dismissal with Prejudice pursuant to Fed. R. Civ.

P. 41(a)(1)(ii) and the Court’s September 28, 2012 Order.         The parties, having reached a

settlement as to the claims raised in this matter, hereby jointly stipulate to the dismissal of all

claims with prejudice and further agree that each party shall bear its own attorneys’ fees and

costs.


Respectfully submitted,


/s/ Joe Napiltonia (by RWJ w/permission)
Joe Napiltonia, BPR No. 026881
Law Office of Joe Napiltonia
219 Third Avenue North
Nashville, Tennessee 37064
(615) 734-1199
joenap@navyseallawyer.com

ATTORNEY FOR PLAINTIFF




     Case 3:12-cv-00686 Document 12 Filed 10/11/12 Page 1 of 3 PageID #: 41
/s/ Russell W. Jackson
Thomas L. Henderson, BPR No. 11526
Russell W. Jackson, BPR No. 27322*
6410 Poplar Avenue, Suite 300
Memphis, Tennessee 38119
Telephone No.: (901) 767-6160
thomas.henderson@odnss.com
russell.jackson@odnss.com

ATTORNEYS FOR DEFENDANT

* admitted pro hac vice




                                    2
    Case 3:12-cv-00686 Document 12 Filed 10/11/12 Page 2 of 3 PageID #: 42
                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 11, 2012 a copy of the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following:

                               Joe Napiltonia
                               Law Office of Joe Napiltonia
                               219 Third Avenue North
                               Nashville, Tennessee 37064




                                                    /s/ Russell W. Jackson




                                     3
     Case 3:12-cv-00686 Document 12 Filed 10/11/12 Page 3 of 3 PageID #: 43
